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             Exhibit 6
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                                                                closed-at-upsala-college.html



 IN BRIEF



 IN BRIEF;The Doors Are Closed At Upsala
 College
 June 4, 1995


 The buildings are shuttered and weeds are sprouting at Upsala College in East
 Orange, which drew its final breath last week. After 102 years as a well-regarded
 liberal arts college, Upsala has closed under the crushing burden of a $12.5 million
 debt. The Middle States Association of Colleges and Schools held off withdrawing
 the school's accreditation so about 200 Upsala seniors could graduate on May 14.
 But on Wednesday, the association officially stripped the college of its
 accreditation. The private four-year college could no longer pay debts arising from
 building improvements, new equipment and delinquent student payments. Only
 435 students were enrolled in the spring semester, down from nearly 1,500 last
 year. (AP)

 A version of this article appears in print on , Section NJ, Page 13 of the National edition with the headline: IN BRIEF;The Doors Are
 Closed At Upsala College




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